                                                            Case 3:18-cv-00814-L-BGS Document 31 Filed 09/24/19 PageID.488 Page 1 of 3




                                                             1   ANTHONY CAPOBIANCO (SBN 162551)
                                                             2   DEREK WALLEN (SBN 214477)
                                                                 CAPOBIANCO LAW OFFICES, P.C.
                                                             3
                                                                 41990 Cook Street, Bldg. F, Suite 2006
                                                             4   Palm Desert, California 92211
                                                                 Telephone: (760) 568-6500
                                                             5
                                                                 Facsimile: (760) 568-0100
                                                             6   acapobianco@capobiancolaw.com
                                                             7
                                                                 dwallen@capobiancolaw.com

                                                             8   Attorneys for Defendant
                                                             9   Robert S. Wolf
                                                            10
                                                                                     UNITED STATES DISTRICT COURT
CAPOBIANCO LAW OFFICES, P.C.




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                                                                                  SOUTHERN DISTRICT OF CALIFORNIA
                               A PROFESSIONAL CORPORATION




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                                                            13   HOWARD APPEL,                             Case No. 18-cv-0814-L-BGS
                                                            14
                                                                             Plaintiff,                    [Assigned to the Hon. M. James
                                                            15                                             Lorenz]
                                                                             v.
                                                            16
                                                                                                           NOTICE OF APPEAL
                                                            17   ROBERT S. WOLF,
                                                            18
                                                                             Defendant.
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                                                                                           DEFENDANT ROBERT S. WOLF’S
                                                                                                NOTICE OF APPEAL
                                                                                             CASE NO. 18-cv-0814-L-BGS
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                                                             1         Notice is hereby given that Robert S. Wolf, defendant in the above-named
                                                             2   case (“Wolf”), hereby appeals to the United States Court of Appeals for the Ninth
                                                             3   Circuit from an order denying Wolf’s special motion to strike the complaint in this
                                                             4   action entered on the 19th day of September 2019 [ECF No. 29].
                                                             5         Wolf’s Representation Statement, required by Federal Rule of Appellate
                                                             6   Procedure 12(b) and Ninth Circuit Rule 3-2(b), is attached to this notice of appeal.
                                                             7

                                                             8   Date: September 24, 2019               CAPOBIANCO LAW OFFICES, P.C.
                                                             9
                                                                                                 By:    /s Derek O. Wallen
                                                            10                                          Derek O. Wallen
CAPOBIANCO LAW OFFICES, P.C.




                                                            11                                          Attorney for Defendant Robert S. Wolf
                                                                                                        E-mail: dwallen@capobiancolaw.com
                               A PROFESSIONAL CORPORATION




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                                                                                               CASE NO. 18-cv-0814-L-BGS
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                                                             1                       REPRESENTATION STATEMENT
                                                             2   1.   Counsel for defendant and appellant Robert S. Wolf.
                                                             3        Anthony Capobianco (SBN 162551)
                                                             4        Derek Wallen (SBN 214477)
                                                                      Capobianco Law Offices, P.C.
                                                             5
                                                                      41990 Cook Street, Bldg. F, Suite 2006
                                                             6        Palm Desert, California 92211
                                                                      Telephone: (760) 568-6500
                                                             7
                                                                      Facsimile: (760) 568-0100
                                                             8        acapobianco@capobiancolaw.com
                                                             9
                                                                      dwallen@capobiancolaw.com

                                                            10   2.   Counsel for plaintiff and appellee Howard Appel.
CAPOBIANCO LAW OFFICES, P.C.




                                                            11        Steven Brower (SBN 93568)
                               A PROFESSIONAL CORPORATION




                                                                      Jennifer A. Needs (SBN 261153)
                                                            12
                                                                      Brower Law Group, A Professional Corporation
                                                            13        23601 Moulton Parkway, Suite 220
                                                            14
                                                                      Laguna Hills, CA 92653
                                                                      Telephone: (949) 668-0825
                                                            15        Steve@BrowerLawGroup.com
                                                            16        Jennifer@BrowerLawGroup.com
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                                                                                          DEFENDANT ROBERT S. WOLF’S
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                                                                                            CASE NO. 18-cv-0814-L-BGS
